                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

                                                       §     CHAPTER 11 CASE
In re:                                                 §
                                                       §     CASE NO. 18-50608-cag-11
EDEN HOME, INC.                                        §
                                                       §
                  Debtor.


                  DECLARATION OF LAURENCE P. DAHL
   IN SUPPORT OF DEBTOR’S CHAPTER 11 PETITION AND FIRST DAY RELIEF

THE STATE OF TEXAS                     §
                                       §
COUNTY OF COMAL                        §

         I, Laurence P. Dahl, pursuant to 28 U.S.C. § 1746, hereby declare that the following is

true to the best of my knowledge, information, and belief:

         1.       My name is Laurence P. Dahl. I am over the age of eighteen years of age, and am

fully competent to make this Declaration. I have never been convicted of a felony or crime of

dishonesty or moral turpitude.

         2.       I am the Executive Director and Chief Executive Officer (“CEO”) of Eden Home,

Inc., dba EdenHill Communities (“Eden Home” or the “Debtor”), the debtor and debtor-in-

possession in the above captioned case (the “Case”). I have served as the CEO of Eden Home

for 17 years. I also have 33 years of experience in long term and acute care.

         3.       As the CEO, I am familiar with the operations of the Debtor and its books and

records. I have personal knowledge of the facts stated herein, or such facts are based on my

review of the Debtor’s operations, including the Debtor’s books and records, and on the

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information and interview conducted by me and my staff and professional advisors with the

Debtor’s officers and employees.

         4.       I submit this Declaration in support of the various motions discussed below (the

“First Day Motions”) that the Debtor is filing on or shortly after the commencement of the Case

on March 16, 2018 (the “Petition Date”).

                                      I.   BACKGROUND

         A.       Debtor’s History

         5.       Established in 1910, the Debtor has been serving the New Braunfels community

and surrounding areas by providing quality senior healthcare and retirement housing since 1956.

Prior to 2009 the Debtor was operated as Eden Home, Inc. The Debtor now does business as

Eden Hill Communities.

         6.       The current campus was opened in 1956 in New Braunfels, Texas. While the

Debtor has provided senior living and health care services for more than 100 years, it has not

historically provided continuing care contracts and therefor was not subject to oversight and

regulation by the Texas Department of Insurance.

         7.       In 2009, the Debtor began doing business as Eden Hill Communities. In 2013,

the Debtor began offering continuing care contracts.

         B.       Debtor’s Non-Profit Status

         8.       The Debtor is a non-profit corporation. It is exempt from federal income tax as a

charitable organization as described under section 501(c)(3) of the Internal Revenue Code of

1986, as amended. It is governed by a volunteer board of directors and officers (the “Board”), of

which I am an ex officio member.



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         9.       Eden Home is affiliated with the South Central Conference of the United Church

of Christ (the “UCC”) and its Council for Health and Human Services Ministries. However, the

UCC is not in any way responsible for the financial and contractual obligations of Eden Home.

         10.      Eden Home has three affiliated non-profit organizations, (i) Eden-Cross

Apartments, Inc. (“Eden-Cross”); (ii) Hilltop Pharmacy, Inc. (“Hilltop Pharmacy”); and (iii)

Eden Heights, Inc. (“Eden Heights”). The Executive Committee of the Board (“Executive

Committee”) serves as the board for both Eden-Cross and Hilltop Pharmacy. The Eden Heights

board is the Executive Committee plus two residents from the Eden Heights community. Each

of these affiliated non-profit organizations is financially separate from the Debtor.

         C.       Eden Home’s Facilities and Services

         11.      Eden Home is located on approximately fifteen (15) acres on Lakeview

Boulevard in New Braunfels, Texas. The original facilities were constructed on this property in

1956. Additional facilities were added in the 1970s and 1980s. In 2008, Eden Home added an

additional eight cottages to the property. As discussed below, Eden Home added independent

living apartments in 2013 and additional facilities in 2015.

         12.      As of the Petition Date, Eden Home offers the following facilities to its long-term

and short-term residents:

    a. 103 Independent Living Apartment-Style Residences (the “Pinnacle”): The
       Pinnacle opened in 2013. The Pinnacle’s apartments range in size from 713 to
       1,849 square feet, with one and two bedroom configurations. Each apartment
       contains a full kitchen and one or two bathrooms. Prior to taking occupancy,
       residents of the Pinnacle must fund a deposit with Eden Home based upon the size
       of their unit. These deposits are refundable in amounts and or terms that vary by
       the size of the unit and the individual contract.

    b. 47 Independent Living Cottages (the “Cottages”): The Cottages are located in
       Eden Home’s village (the “Village”).


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    c. 37 Assisted Living Units (“Assisted Living”): The Assisted Living suites from
       250 to 540 square feet, and include efficiency and one bedroom configurations.
       Each has a kitchenette and full bathroom.

    d. 30 Memory Support Assisted Living Units (“Memory Support”): The units in
       Memory Support range from 287 to 353 square feet.

    e. 184 Skilled Nursing Beds (the “Health Center”): Nursing care is provided to
       resident of the Health Center. It includes approximately sixty (60) private beds
       and one hundred twenty (120) semi-private beds. The semi-private suites are
       approximately 300 square feet. The new private suites are each approximately
       286 square feet and include a full private bathroom. The newest part of the
       Health Center opened in 2015.

         13.      Residents at the Pinnacle receive a full-service package that includes food service,

housekeeping, utilities, 1 a security and emergency and alert system, laundry, maintenance, mail,

transportation, social and recreational programs, storage areas, wellness programming, a

healthcare benefit, and other services. Cottage residents can elect a full-service package that is

commensurate with that provided to residents of The Pinnacle.

         14.      With the exception of individuals at Eden Home’s Health Center, all residents are

charged a Monthly Service Fee based upon the services provided, the size of their unit and if the

unit is occupied by more than one individual, as applicable.

         D.       Eden Home’s Bond Debt

         15.      To finance and refinance a portion of the cost of the completion of the acquisition,

construction, furnishing and equipping of the Pinnacle, a portion of the Health Center, and other

improvements (the “Project”), Eden Home borrowed the proceeds of $52,550,000 in first

mortgage revenue bonds (the “Bonds”), issued by Red River Health Facilities Development

Corporation (“Red River”) and loaned by Red River to Eden Home. The Bonds are evidenced

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  The Monthly Service Fee charged to Pinnacle residents includes the costs of sewer, water, waste
disposal, electricity, heat, air conditioning, internet and basic cable. The Monthly Service Fee charged to
Village residents includes internet and basic cable. Residents at both locations are responsible for
telephone and premium cable television.
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by (i) that certain Master Trust Indenture, Deed of Trust and Security Agreement (as

supplemented, the “Master Indenture”), dated as of February 1, 2012, between Eden Home and

UMB Bank, N.A. (successor-in-interest to The Bank of New York Mellon Trust Company,

National Association), as master trustee (the “Master Trustee”), and (ii) the Indenture of Trust,

dated as of February 1, 2012, between Red River and the Master Trustee. The proceeds of the

Bonds were loaned to Eden Home pursuant to the Loan Agreement (the “Loan Agreement”),

dated as of February 1, 2012, between Eden Home and Red River. Pursuant to the Loan

Agreement and the Master Indenture, the Bonds are direct obligations of Eden Home. Although

the Bonds began to amortize in December 2016, no principal payments have been made, and

therefore, the entire $52,550,000 principal amount remains outstanding, together with accrued

and unpaid interest.

         16.      Eden Home’s obligations under the Master Indenture are secured by a lien

against, and security interest in, Eden Home’s real and personal property, respectively, as

described in the Master Indenture.       Upon information and belief, the Master Indenture as

originally drafted and as supplemented was properly recorded in the real property records for

Comal County, Texas, thereby perfecting a lien on the real property pledged therein. Further,

upon information and belief, a financing statement under chapter 9 of the Texas Business and

Commerce Code relating to the security interests granted under the Master Indenture was also

properly filed in the office in the Texas Secretary of State, perfecting those security interests in

almost all of the Debtor’s other property. In addition, pursuant a Forbearance Agreement dated

November 13, 2015, the Debtor entered into deposit account control agreements with Bond

Trustee, thereby creating perfected security interests in certain of the Debtor’s deposit accounts

at various third-party financial institutions, upon information and belief.
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         E.       Events Leading to the Bankruptcy Filing

         17.      In 2012, Eden Home contracted with J. E. Dunn Construction (“Contractor”) for

construction of the Project.          Before the Project was completed, Eden Home discovered

substantial defects in the construction. Efforts to correct the defective construction resulted in

delays in the opening of the Project for occupancy and additional construction and renovation

expenses to Eden Home.            Eden Home is currently in litigation with the Contractor and Zurich

American Insurance Company, which issued the builder’s risk insurance policy, to recover its

losses. See J.E. Dunn Const. Co. v. Eden Home, Inc., Cause No. C-2015-0183D, pending in the

433rd Judicial District in Comal County, Texas (the “Construction Lawsuit”). Various counter-

claims and third-party claims have also been raised in the Construction Lawsuit. Non-binding

mediation with the Zurich American Insurance Company has been scheduled for March 16, 2018

in the Construction Lawsuit.

         18.      The loan documents evidencing the Bonds contain certain liquidity covenants,

including a covenant to maintain cash above certain thresholds and a covenant to maintain cash

levels above an established multiple of daily cash expenses. Following the construction delays,

construction defects and attendant losses, Eden Home did not have sufficient liquid assets to

meet these liquidity covenants. The lack of liquid assets has also impeded Eden Home’s ability

to effectively efficiently manage its cash for operations and to pay interest and principal due on

the Bonds. Eden Home and the Master Trustee, on behalf of the holders of the Bonds, have

entered into various forbearance agreements, which have included, among other concessions, a

process for the sale, affiliation or refinancing transaction. Efforts to consummate that process

have been hindered by the continuing presence of construction defects and the Construction

Lawsuit. The forbearance agreements have expired by their terms and the Master Trustee has
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indicated that the holders of the Bonds will imminently direct the Master Trustee to exercise

remedies as a result of the existing defaults.

         F.       Goal of the Bankruptcy Case and Proposed Plan of Reorganization

         19.      The Debtor’s goal in this bankruptcy case is to maintain (i) the quality care it

provides the residents and patients in its care, and (ii) the value of the Debtor’s assets and

enterprise while (a) finding new equity investors to support its operations, or (b) completing a

sale process that ensures the superior care and treatment for Eden Home’s residents and patients.

         20.      Because the Debtor’s cash flow has struggled in the months leading up to the

Petition Date, time is of the essence to avoid incurring administrative bankruptcy expenses to the

greatest extent possible.

                                  II.   FIRST DAY MOTIONS

         A.       Complex Case Designation

         21.      The Debtor has also filed a Notice of Designation as a Complex Chapter 11

Bankruptcy Case, which I understand from my counsel is in accordance with the General Orders

of the Court when commencing the contemplated complex case. I believe this designation is

warranted because (a) the total claims asserted against the Debtor exceeds the $10 million

threshold, (b) there are over fifty (50) creditors and parties in interest in this Case, and (c) the

bonds are publicly traded. Based on these factors, I believe the Debtor is entitled to a complex

chapter 11 case treatment of this Case, which will allow the Debtor and its counsel to use a

limited service list, and set hearings on a more frequent basis. I believe such treatment will help

the Debtor complete an effective and efficient restructuring through this Case without incurring

unnecessary administrative costs or prejudicing the interests of creditors or parties-in-interest.

         B.       Cash Collateral Motion

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         22.      Debtor operates a senior care facility which is indebted to the bond trust in the

principal amount of $52,550,000 plus accrued but unpaid interest. The Debtor has pledged its

real and personal property to secure that debt. In order to continue its operations, Debtor needs

access to its ordinary operating revenues and requests that pursuant to the budget attached to the

cash collateral motion, its operations remain undisturbed.

         C.       Employee Payroll and Benefits

         23.      Debtor’s operations, by their nature, require an extensive labor force. Debtor

employs over 300 persons at its New Braunfels campus, including medical staff, food

preparation, physical plant maintenance, as well as employees dedicated to overhead functions

such as billing and paying bills. The wages and benefits motion describes the payroll cycle,

which is bi-weekly, the benefits components including 401(k), health insurance and other

benefits. It is important to the care of the residents that these wages and benefits be maintained

without interruption so that the Debtor can continue to provide appropriate services. The wages

and benefits provided to the employees are market for the area and customary for this kind of

facility.

         D.       Cash Management Motion

         24.      The Debtor has also filed a motion to authorize it to continue using its existing

bank accounts and cash management system (collectively, the “Cash Management System”). As

discussed in greater detail in the Cash Management Motion, the nature of the Debtor’s health-

care business requires its business to operate seamlessly following the filing of its bankruptcy

petition.

         25.      The Cash Management System ensures that the Debtor is able to submit and

receive reimbursements for its services from Medicare and Medicaid as soon as these payments

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are authorized. In addition, because the Debtor is a not-for-profit organization, several of its

accounts are restricted. The Debtor’s nine (9) bank accounts that make up the Cash Management

System are listed as follows:

                          a. Eden Home, Inc. Scholarship Account at Frost National Bank, Account
                             #0604. 2

                          b. Eden Home, Inc. Resident Trust Fund Account at Wells Fargo Bank,
                             N.A., Account #4953.

                          c. Eden Home, Inc. Certificate of Deposit at Prosperity Bank, Account
                             #0413.

                          d. Eden Home, Inc. Account at Ameritrade, Account #3780.

                          e. Eden Home, Inc. 401(k) Account at First Commercial Bank, N.A.,
                             Account #4218.

                          f. Eden Home, Inc. Deposit Account – Pinnacle (Independent Living) at
                             Broadway Bank, Account #3869.

                          g. Eden Home, Inc. Operating Account at Broadway Bank, Account #3867.

                          h. Eden Home, Inc. Fund Development Account at Broadway Bank, Account
                             #3871.

                          i. Eden Home, Inc. Payroll Account at Broadway Bank, Account #8639.

           26.       The Debtor also employs approximately 310 employees to operate its business

and ensure its residents and patients receive superior care.                             It is important that the Cash

Management System remain in place to ensure these individuals are timely paid.

           27.       The Cash Management System procedures the Debtor uses constitutes an

ordinary, usual and essential business practice and are consistent with those used by other similar

enterprises in the industry. The Cash Management System provides significant benefits to the

Debtor, including but not limited to: (a) control funds centrally; (b) minimize idle cash; and (c)


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    Each of the Bank Accounts described herein is identified by the last four digits of the account number.
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reduce administrative expenses by facilitating the movement of funds and the development of

more timely and accurate balance presentment information.

         28.      I have been advised that upon the filing of this bankruptcy case, the ordinary

procedure is to close all preexisting bank accounts at unauthorized depositories and reopen new

debtor-in-possession bank accounts at authorized depositories. The Debtor can do this, although

doing so will cause the Medicaid and Medicare reimbursements to be delayed several weeks, if

not longer. Without receiving immediate payments from these agencies, the Debtor’s operations

could be placed in jeopardy.

         29.      To alleviate any concerns, I will work with the Debtor’s professionals to provide

any reporting that the Court or the United States Trustee might require to show the flow of funds

through the Debtor’s account. Specifically, the Debtor will continue to maintain records of such

accountings, including records of all current intercompany accounts receivable and payable, with

balances existing as of and following the Petition Date.

         E.       Utility Service Motion

         30.      Utility service is critical to the ongoing operations of Debtor’s business. Any

disruption of that service would be extremely detrimental to Debtor’s business. A nonexclusive

list of the utility companies whose services (the “Utility Services”) that the Debtors enjoy is

attached the utilities motion filed by the Debtors.

         31.      Prior to the Petition Date the Debtor has remained current in paying for their

Utility Services. On average, the Debtors pay approximately $70,000 each month for third-party

Utility Services, calculated as a historical average payment for the three-month period ended

February 28, 2018. Accordingly, the Debtors estimate that their costs for Utility Services during

the next 30 days (not including any deposits to be paid) will be approximately $70,000. One
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utility company, Inviacom, 3 currently holds a deposit of approximately $11,400 belonging to the

Debtor.

         32.      The Debtor has, or will have, adequate funds during the foreseeable future to pay

for its post-petition Utility Services. In addition, the utility companies are further protected by

their entitlement to an administrative expense priority under section 503 of the Bankruptcy Code

for any unpaid post-petition Utility Services. In the event a utility company files a request for

additional protections in accordance with the utilities motion, Debtors shall attempt to resolve

that request consensually.

         F.       Insurance Premium Installment Motion

         33.      The non-paid up insurance policies (the “Insurance Policies”) maintained by the

Debtor are as follows:

    a) an excess employers indemnity policy with an effective date of January 29, 2018
       and an expiration date of January 29, 2019 and a total yearly premium of
       $39,174.45 (the “EEI Policy”)

    b) a directors and officers/employment practices liability insurance policy with an
       effective date of May 19, 2017 and an expiration date of May 19, 2018 and a total
       yearly premium of $47,900 (the “D&O Policy”); and

    c) an excess directors and officers/employment practices liability insurance policy
       with an effective date of May 19, 2017 and an expiration date of May 19, 2018
       and a total yearly premium of $35,563 (the “Excess D&O Policy”).

All of these Insurance Policies were financed by the IPFS Corporation (the “Premium Lender”).

The Premium Lender has senior security interests in the proceeds of the financed Insurance

Policies to the extent of any unpaid obligations owed by the Debtor. The total remaining amount

owed on the financing for the EEI Policy as of the Petition Date is $27,401.43, and this financing

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 The Debtor’s current provider of internet and cable services for its residents is Digital Media. The
Debtor’s contract with Digital Media expires in July 2018. Inviacom will begin providing services to the
Debtor in July and a portion of this deposit may be applied to the Debtor’s bill once Inviacom’s services
begin.
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carries interest at an effective annual percentage rate of 7.00%. The financing calls for ten more

monthly payments of $3,134.09, due on the 29th day of each month. The total remaining amount

owed on the financing for the D&O Policy and Excess D&O Policy as of the Petition Date is

$13,184.73, and this financing carries interest at an effective annual percentage rate of 5.7%.

The financing calls for two more monthly payments of $6,639.36, due on the 19th day of each

month. While there may be a grace period allowed under the premium finance agreements

before the policies can be cancelled, the Debtor may suffer irreparable harm if they do not obtain

immediate relief to pay these Insurance Financing Obligations as they become due. If these

payments are not made, the Premium Lenders may have the right under applicable non-

bankruptcy law to cancel the Insurance Policies or the Insurance Policies may be automatically

terminated. The Debtor must continue the Insurance Policies to preserve the value of its estate

and to comply with various laws, regulations, and contract obligations that apply to the Debtor’s

assets and operations. Many of the Debtor’s secured loan agreements require their assets to be

insured, and failing to maintain that insurance could cause those lenders to obtain leave from the

Court to foreclose on their assets before losses occur.

         G.       Extension of Schedules & SOFA Deadlines Motion

         34.      The substantial size and complexity of Eden Home’s operations complicates its

ability to assemble and compile such information within the first 14 days of the Petition Date in

an accurate, complete, and cost-effective manner Eden Home is efficiently staffed and has

limited personnel available to review such information in the early stage of this Case, especially

given the increased workload placed such personnel by the other requirements of the Case and

Eden Home’s situation.            Id.   The personnel and professional advisors who are needed to



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complete the Schedules and SOFA must also devote time and attention to business operations to

preserve and maximize the value of the Eden Home’s going concern and bankruptcy estate.

         H.       Motion to Pay Hilltop Pharmacy

         35.      Hilltop Pharmacy operates from a location on Eden Home’s campus. Hilltop

Pharmacy is licensed by the Texas State Board of Pharmacy, license number 19280. In most

instances, Hilltop Pharmacy provides pharmaceuticals and pharmaceuticals services directly to

the residents of Eden Home and receives payments directly from those residents or their insurers,

including Medicare. However, in other instances Eden Home obtains pharmaceuticals and other

goods from Hilltop Pharmacy for Eden Home’s business operations and pays Hilltop on a regular

(usually monthly) basis for those goods. Hilltop Pharmacy in turn pays its pharmaceutical

distributors for pharmaceuticals and also pays Hilltop Pharmacy’s own operating expenses,

including the salaries of its pharmacists and other personnel (which are approximately $21,000

per month). In addition, as Hilltop Pharmacy is a non-profit that serves Eden Home’s residents

on an essentially exclusive basis, Hilltop Pharmacy does not always break-even, so Eden Home

from time to time funds Hilltop Pharmacy additional amounts to cover these operating expenses.

There is not a formal written contract reflecting this agreement between Eden Home and Hilltop

Pharmacy.

         36.      As of the Petition Date, Eden Home owed an unknown amount for

pharmaceuticals and other goods provided to Eden Home prior to that time. This amount is

unknown because the Hilltop Pharmacy will not have processed and provided to Eden Home all

invoices all the pre-petition goods and services provided to Eden Home. The Debtor estimates

that the unpaid amount owed to Hilltop Pharmacy for pre-petition goods and services as of the

Petition Date is less than $25,000. Further, as of the Petition Date, Hilltop Pharmacy may be due
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additional funds of up to $5,000 from Eden Home to cover small potential deficits in the

operating budget of Hilltop Pharmacy pursuant to the unwritten agreement between Eden Home

and Hilltop Pharmacy.             These amounts are collective known as the “Hilltop Pre-Petition

Claims.”

         37.      If the Hilltop Pre-Petition Claims are not paid, Hilltop Pharmacy will not be able

to pay its staff or pay its distributor for pharmaceuticals. These non-payments will likely result

in Hilltop Pharmacy being forced to cease operations due to a lack of staff and a lack of

pharmaceuticals to sell. This cessation of business by Hilltop Pharmacy could cause irreparable

harm to Eden Home—Eden Home and its residents need the on-site pharmaceuticals and

pharmacy services provided by Hilltop Pharmacy, and any replacement provider would be more

expensive and risky to Eden Home than Hilltop Pharmacy. Along with the disruptions that

would result if Hilltop Pharmacy needs to be replaced, there could be significant delays in

obtaining different properly licensed provider.         These disruptions and delays could cause

significant further losses to Eden Home.

         I.       Emergency Motion to Modify Stay to Permit Continuation of the
                  Construction Lawsuit

         38.      In the Construction Lawsuit, non-binding mediation with the Zurich American

Insurance Company has been scheduled for March 16, 2018. The automatic stay should be

modified to permit the remainder of the Construction Lawsuit to proceed as normal so that the

Debtor can liquidate and recover on the claims it asserts therein in a timely fashion. Discovery is

ongoing and not complete in the Construction Lawsuit. The stay of discovery could delay the

adjudication of the Construction Lawsuit, which is not in the best interest of the Debtor or its

estate. Continuing discovery is necessary and the expenses and burdens of completing remaining


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discovery to the Debtor and its estate are outweighed by the need to avoid further delay. The

Construction Lawsuit also involves a mandamus proceeding initiated by one of the Debtor’s

adversaries regarding a discovery dispute in the underlying lawsuit. See In re J.E. Dunn Const.

Co., No. 03-18-00105-CV, pending in the Texas Third Court of Appeals. This matter has been

fully briefed and only relates to production of documents by a non-debtor party. Permitting this

matter to proceed as well on an expedited basis would be fair and would not risk harm to the

Debtor or its bankruptcy estate.

                                   III.   CONCLUSION

         39.      For the reasons provided above, and after due consideration it is my business

judgment that the First Day Motions and related relief should be granted.

         [Remainder of this page intentionally left blank; signature to follow]




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct, on this 16th day of March, 2018.

                                              /s/ Laurence P. Dahl
                                             Laurence P. Dahl




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